Case 1:15-cv-05871-KPF Document 4-12 Filed 08/13/15 Page 1 of 16

NEW YORK STATE ANTI-TRAFFICKING LAW

APPENDIX A

New York Penal Law §135.35 — Labor Trafficking
A person is guilty of labor trafficking if he or she compels ot induces another to engage in labor ot recruits, entices,
harbors, or transports such other person by means of intentionally:

1. Unlawfully providing a controlled substance to such person with intent to impair said person’s judgment;

2. Requiring that the labor be preformed to retire, repay, or service a real or purported debt that the actor
has caused by a systematic ongoing course of conduct with intent to defraud such person;

3. Withholding, destroying, or confiscating any actual or purported passport, immigration document, or any
actual or purported government identification document, of another person with the intent to impair said
petson’s freedom of movement; provided, however, that this subdivision shall not apply to an attempt to
correct a social security administration record or immigration agency record in accordance with any local,
state, or federal agency requirement, where such attempt is not made for the purpose of any express or
implied threat;

4. Using force or engaging in any scheme, plan or pattern to compel or induce such person to engage in of
continue to engage in labor activity by means of instilling a feat in such person, that if the demand is not
complied with, the actor or another will do one or more of the following:

(a) cause physical injury, serious physical injury, or death to a person; ot

(b) cause damage to property, other than the property of the actor; or

(c) engage in other conduct constituting a felony or unlawful imprisonment in the second degree in
violation of section 135.05 of this chapter; or

(d) accuse some person of a crime or cause criminal chatges or deportation proceedings to be
instituted against such person; provided, however, that is shall be an affirmative defense to this
subdivision that the defendant reasonably believed the threatened charge to be true and that his
ot her sole purpose was to compel or induce the victim to take reasonable action to make good
the wrong which was the subject of such threatened charge; or

(e) expose a secret or publicize an asserted fact, whether true or false, tending to subject some
person to hatred, contempt or ridicule; ot

(f) testify or provide information or withhold testimony or information with respect to anothet’s
legal claim or defense; or

(g) use or abuse his or her position as a public servant by performing some act within or related to
his or her official duties, or by failing or refusing to perform an official duty, in such manner as
to affect some person adversely.

New York Penal law §135.36 — Labor Trafficking Accomplice Liability

In a prosecution for labor trafficking, a person who has been compelled or induced or recruited, enticed, harbored
or transported to engage in labor shall not be deemed to be an accomplice.
Case 1:15-cv-05871-KPF Document 4-12 Filed 08/13/15 Page 2 of 16

APPENDIX B

New York Penal Law §230.34 - Sex Trafficking
‘A person is guilty of sex trafficking if he or she intentionally advances or profits from prostitution by:
1. Unlawfully providing to a person who is patronized, with intent to impair said person’s judgment:
(a) a narcotic drug or a narcotic preparation;
(b) concentrated cannabis as defined in paragraph (a) of subdivision four of section thirty-three
hundred two of the public health law;
(c) methadone; or
(d) gamma-hydroxybutyrate (GHB) or flunitrazepan, also known as Rohypnol;

2. Making material false statements, misstatements, ot omissions to induce or maintain the person being
patronized to engage in or continue to engage in prostitution activity;

3. Withholding, destroying, or confiscating any actual or purported passport, immigration document, or any
other actual or putported government identification document of another person with intent to impair
said person’s freedom of movement; provided, however, that this subdivision shall not apply to an
attempt to correct a social security administration record or immigration agency tecord in accordance
with any local, state, ot federal agency requirement, where such attempt is not made for the purpose of
any express or implied threat;

4. Requiring that prostitution be performed to retire, repay, or service a real or purported debt;

5. Using force or engaging in any scheme, plan or pattern to compel or induce the person being patronized
to engage in or continue to engage in prostitution activity by means of instilling a fear in the person
being patronized that, if the demand is not complied with, the actor or another will do one or mote of the
following:

(a) cause physical injury, serious physical injury, or death to a person; of
(b) cause damage to property, other than property of the actor; or
(c) engage in other conduct constituting a felony or unlawful imprisonment in the second degree in
violation of section 135.05 of this chapter; or
(d) accuse some person of a criminal charges or deportation proceedings to be instituted a gainst
some person; provided, however, that it shall be an affirmative defense to this subdivision that
the defendant reasonably believed the threatened charge to be true and that his or her sole
purpose was to compel ot induce the victim to take reasonable action to make good the wrong
which was the subject of such threatened charge; or
(e) expose a secret or publicize an asserted fact, whether true or false, tending to subject some
person to hatred, contempt, or ridicule; or
(f) testify ot provide information or withhold testimony or information with respect to anothet’s
legal claim or defense; or
(g) use or abuse his or her position as a public servant by performing some act within or related to
his ot her official duties, or by failing or refusing to perform an official duty, in such manner as
to affect some person adversely; or
(h) perform any other act which would not in itself materially benefit the actor but which is
calculated to harm the petson who is patronized materially with respect to his or her health,
safety, or immigration status.

New York Penal Law §230.36 — Sex Trafficking Accomplice Liability
In a prosecution for sex trafficking, a person from whose prostitution activity another person is alleged to have
advanced or attempted to advance or profited or attempted to profit shall not be deemed to be an accomplice.
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PATROL GUIDE

 

Section: Arrests Procedure No: 208-70

 

PROCESSING OF NEW YORK STATE DOMESTIC INCIDENT
REPORTS IN THE DOMESTIC VIOLENCE DATABASE

 

 

 

DATE ISSUED: DATE EFFECTIVE: REVISION NUMBER: PAGE:
08/01/13 08/01/13 1 of 4

 

 

 

 

PURPOSE

PROCEDURE

UNIFORMED
MEMBER OF
THE SERVICE

NOTE

DESK OFFICER

COMMAND
CLERK

NOTE

 

To improve the tracking, monitoring, and analysis of domestic violence cases.

Whenever entering information from a command’s past/current New York State
Domestic Incident Report (DCJS-3221) into the new Domestic Violence
Database System:

1. Submit hard copy of Domestic Incident Report and any related
paperwork [COMPLAINT REPORT (PD313-152), AIDED REPORT
WORKSHEET (PD304-152b), ON LINE BOOKING SYSTEM
ARREST WORKSHEET (PD244-159) etc.] to desk officer.

The current New York State Domestic Incident Report (DCJS-3221) does not have
captions for certain pertinent information that is collected in the Domestic Violence
Database System. Therefore, the following information is to be elicited from the person(s)
involved and recorded in the NARRATIVE OF THE INCIDENT:

a. Alcohol involved

b. Narcotic involved

C. Verbal dispute only

d. Court and Docket number of Order of Protection

é. Voucher number of photos (if taken)

f Social security number and alias of persons involved (record next to
name if space allows, otherwise include name and information in
narrative)

g. Reporting officer’s tax number in box titled “OFFICER LD. NO.”

2. Review hard copy of Domestic Incident Report and any related
paperwork for accuracy and completeness and sign.
3, Direct command clerk to enter information from the Domestic Incident

Report into the Domestic Violence Database System.

4. Enter information from the Domestic Incident Report into the Domestic
Violence Database System and print out computer copy.

Members of the service entering Domestic Incident Reports into the Domestic Violence
Database System should not attempt to translate victims’ statements that are written in
languages other than English, regardless of whether or not the member is proficient in
the other language. However, members should indicate in the “Victims Statement of
Allegations/Supporting Deposition” field that the statement is written in a language
other than English (i.e., “Victim's statement is completed in apparent Spanish").

os Attach hard copy and computer copy and present them to the desk officer
for review.

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Case 1:15-cv-05871-KPF Document 4-12 Filed 08/13/15 Page 4 of 16

PATROL GUIDE

 

PROCEDURE NUMBER:

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208-70

 

 

 

 

08/01/13 4 of 4

 

ADDITIONAL
DATA

RELATED
PROCEDURES

FORMS AND
REPORTS

Members of the service are reminded that the hard copy of the DIR, which should
include a statement written in the complainant/victim’s own handwriting, is the primary
source for information regarding domestic incidents. The handwritten victim’s statement
is crucial to the District Attorney during the prosecution of a domestic violence case and
can serve as the accusatory instrument, when necessary. When a domestic violence
officer, precinct detective squad member, or other interested member of the service is
investigating a domestic incident and the Domestic Violence Database indicates that the
victim's statement is written in a language other than English, he or she should refer to
the hard copy of the DIR to obtain the victim’s handwritten statement. If the need for a
translator arises, members of the service should comply with P.G. 212-90, ‘Guidelines
for Interaction with Limited English Proficient (LEP) Persons”.

Domestic Incident Reports that are prepared by officers assigned to commands other
than precinct of occurrence (i.e. Housing Bureau personnel, etc.) who have access to the
Domestic Violence Database System, will be responsible for the data entry, review and
finalization of the Domestic Incident Report. The follow-up investigation will be the
responsibility of the precinct of occurrence or housing PSA, as appropriate.

Due to the sensitive nature of the Database information, access is limited to authorized
users and is controlled using CESN passwords. The command's integrity control officer
provides access to the system; however, revoked passwords must be re-activated by the
integrity control officer assigned to the Management Information Systems Division.

Commands will access the Domestic Violence Database System from local area network
(LAN) workstations that have Internet Explorer Browser installed. Once the system
issues a sequential number and the Domestic Incident Report is reviewed by the
domestic violence officer, only a supervisor from the precinct of occurrence is permitted
to make modifications. Additionally, once a desk officer/domestic violence supervisor
has finalized a Domestic Incident Report for entry into the Domestic Violence Database
System, no modifications will be allowed. (This does not include domestic violence
officer notes or detective case closing).

Domestic Violence Prevention Officer (P.G. 202-29)

Family Offenses/Domestic Violence (P.G. 208-36)

Family Offenses and Domestic Violence Involving Uniformed or Civilian Members Of
The Service (P.G 208-37)

Family Offense/Domestic Violence (Photographing Visible Injuries/Damaged Property)
(P.G. 208-39)

AIDED REPORT WORKSHEET (PD304-1526)

COMPLAINT REPORT (PD313-152)

ON LINE BOOKING SYSTEM ARREST WORKSHEET (PD244-159)
New York State Domestic Incident Report (DCJS-3221)

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NEW YORK PICS

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HUGE SELECTION OF
AIR CONDITIONERS

Dead Sea Scrolls case gets part of New York
harassment law knocked off books as
unconstitutional

Raphael Golb created phony email accounts to promote his theory about the ancient
texts’ origin and was convicted on 30 counts in 2010. The appeals court on Tuesday
vacated his convictions of identity theft, criminal impersonation, aggravated harassment
and unauthorized use of a computer,

BY SHAYNA JACOES / NEWYORK DAILY NEWS / Wednesday, May 14, 2014, 9:35 AM

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|OUIS LANZANO/ASSOCIATED PRESS:

Dead Sea enthusiast Raphael Golb (seen in 2010) had his felony convictions vacated on Tuesday in

New York.

http://www.nydailynews.com/new-york/dead-sea-scrolls-case-harassment-law-tweaked-att...

The state's top court ruled in a Dead Sea Scrolls case Tuesday — and slruck
down a law that's often used against stalkers and domeslic abusers,

A significant portion of the second-degree aggravated harassment law, relaling
to phone calls, emails and other kinds of communication "in a manner likely to
cause annoyance or alarm," is invalid under the New York State Court of
Appeals ruling that stems from a case against Dead Sea Scrolls enthusiast
Raphael Golb.

The judges said they "conclude that (the taw) is unconstitutional under both the
state and federal Constitutions, and we vacate defendants’ convictions on these
counts."

They sided with a case broughl by Golb's altorney, Ron Kuby, saying: "We
agree with defendant that this statute is constitutionally vague and over broad.”

Golb's falher, Norman Golb, is one of a small number of world experts on the
ancient texts. Scholars in that group disagree on the origins of lhe Dead Sea
Scrolls.

Prosecutors argued the son assumed the identilies of a handful of academics
and mocked them online in a campaign that began in 2008, One target of his
alleged harassment was Lawrence Schiffman, formerly of NYU,

 

 

 

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Queens man
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girlfriend: officials

A 24-year-old Queens man
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Minnesota teen

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Man who fatally
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PROMOTED STORIES...

 

  
  
 

 

EDITOR'SPICKS

 

 

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Greatest Mugshots of
Gucci Mane's Life

Can You Belleve These
Items Are Dirtier Than

7/24/2015
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Golb admitted he created email accounts Schiffman's and others' names but

described the mass mailings he sent out as parody.

He was convicted on 30 counts in 2010, but the court tossed the felony charges
against him.

DAN BALILTY/ASSOGIATED PRESS

The origin of the Dead Sea Scrolls (s a matter of scholarly debate — and apparently Raphael Golb was
fanatical about protecting his father's theory.

PROMOTED STORIES

 

The court vacated his conviclion on identity theft, criminal impersonation,
aggravated harassment and unauthorized use of a computer but upheld his gulllt

on criminal imprecation and forgery charges.

"| have made the world safe not Just for Mr, Golb but all of the other people out
there to annoy," said Kuby, a noted civil rights tawyer and colorful radio co-host,

known for slirring up controversy.

“As somebody who frequently has been called annoying himself, | couldn't be

prouder.”

But Manhattan District Attorney Cyrus Vance Jr. said the court's decision on

aggravated harassment was a blow to crime-fighters.

"The aggravaled harassment statute is one of the most important lools we have
to protect victims of, among other serious crimes, stalking and domestic

violence," Vance said.

“Last year, there were approximately 1,000 people charged in Manhatlan with
this crime; many of these cases are pending, We will now work wilh advocates,
our partners in law enforcement and state lawmakers to address the polential

implications of this ruling,” the D.A, added

Golb was sentenced to sIx months in jail after his conviction but will be

resentenced al a later date as a result of the ruling.

   

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Meet the Most Excluslve Card in
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5 Amazing Estates That Are Justa
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5 Simple Golf Swing
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Queens teacher uses
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Alleged gun provider
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NYC, lawyers to
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Taxi allies seek to
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Bronx toddlers found
wandering street
alone: cops

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her 3-year-old_..

Two men are mugged
while visiting Central
Park: cops

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were mugged in broad
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A is BY CHAMBERLAIN COLLEGE OF NURSING

Although there can be obstacles, the rewards for following a few healthy
habits can pay off,

 

 

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COMMENTS (8) [ Discussion Guidelines}

POST A COMMENT '

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JOHN BAILEY e

452 days ago

Vance should cerfainly resign «+ nol because the stalule criminalizing "annoying" speech was slruck |
down, bul because he had thousands of people praseculed urider it, Knowing full well that it was |
uncoristitutional. As for Golb's son, he had the courage lo condemn the abusive tactics of a certain group
of academics in a series of highly entartaitiing blogs, some of which can still be found online

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sea-scralis-axhibil-san-diego |

The “annoyance” he caused certainly did not deserve Ihe persecution he enciured for five years. raplele with

phony felony charges cooked up by Vance's assistanis to try and force him lo plead guilly, Sea the dacumentation

  

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on fence after Queens
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Cyrus Vance Jr.’ Cageneybaly Apa pack RFCiibot ufenNevd Y ofki[Gi@8/13/15 Page 10 of 1@age 11 of 15

“When prosecutors begin to compile databases and start doing so-called ‘smart
prosecutions,’ you have to ask who is getting in the databases, what are the criteria
and where are the outside checks?” says Steven Zeidman, director of the criminal-
defense clinic at the CUNY School of Law. “More than a thousand people are
arrested in N.Y.C. each day, and the overwhelming and disproportionate number of
them are people of color arrested for ‘broken windows’ type offenses like riding a
bike on the sidewalk or jaywalking. I was in court with a kid arrested for jaywalking;
the arresting officer was from the gang unit, and he stopped the kid because he was
wearing a red shirt that, according to the police, happened to be a gang color. He

wasn't in a gang, but he’s probably now in a database.”

Vance has also been criticized for shrinking from leadership on the issue of
marijuana arrests in the city. In recent years, tens of thousands of New Yorkers — a
vast majority of them blacks and Hispanics — have been arrested for small amounts
of marijuana after being searched under the Police Department’s now-scaled-back
stop-and-frisk policy. Marijuana offenses were the top arrest category for the entire
program in 2012, according to a study by the New York chapter of the American Civil
Liberties Union. Vance has long supported reforming the penal code to treat small
amounts of pot “in public view” as a violation resulting in a fine rather than a
misdemeanor, which might lead to a jail sentence and a criminal record. But his
office has declined to prosecute just under 7 percent of the 54,000 misdemeanor pot
arrests in Manhattan since 2009, and it was Vance’s old antagonist, the Brooklyn
district attorney Kenneth Thompson, who declared his office would no longer

prosecute such cases.

Vance’s efforts to make prosecutors smarter — “to play offense instead of
defense,” as he has said — depend on what he calls “extreme collaboration” with the
Police Department, cooperation that has increased notably since the arrival in
January of William Bratton as police commissioner. Prosecutors say they now have
access to precinct-level commanders they almost never had before. The complicated
anti-gang cases mounted in Manhattan — like the one at the Manhattanville and
Grant housing projects last June, which resulted in 103 arrests — were built by
teams from the D.A.'s office working hand in glove with the investigators from the
police and the city’s Department of Correction. But critics argue that in doing so,

prosecutors risk becoming extensions of the police force.

http://www.nytimes.com/2014/12/07/magazine/cyrus-vance-jrs-moneyball-approach-to-crime.htm... 7/24/2015
Cyrus Vance Jr.’ 88 rie} ball’ ApBrobdh RG CiRAEUMRANEE Y ofl FthQ9/13/15 Page 11 of 1@age 12 of 15

“Prosecutors are supposed to be the gatekeepers to the criminal-justice system,”
Zeidman told me. “They should maintain a healthy distance from the police so they
can evaluate the constitutionality and appropriateness of what the police are doing.
If they had been fulfilling that function all along, we might never have had scandals
like the rampant Fourth Amendment violations uncovered in the federal stop-and-

frisk litigation.”

It’s hard to know how much one person or policy can affect the crime rate,
and consequently how much credit or blame should be assigned when things go well
or don’t. Evaluations of anti-crime measures often conflate cause and correlation.
The sun comes up, the roosters preen. Raymond Kelly, the former New York City
police commissioner, once said that taking credit for a decline in crime is like taking
credit for an eclipse, but he, too, was quick to attribute auspicious trends to his
department’s strategies and tactics. The N.Y.P.D.'s seminal crime-mapping
methodology CompStat surely made cops more effective and helped reduce crime,
and yet crime began its epic decline in 1990, four years before CompStat was
implemented. For years Kelly and former Mayor Michael Bloomberg insisted the
city’s stop-and-frisk program was the key — but then, as opponents asked, why did
crime continue to go down even when stop-and-frisk was curtailed by public

pressure in 2012?

Apart from effective police work, studies have attributed the decline in violent
crime to-a confounding hash of variables: demographic trends, fashions in-drug- - — ---
abuse, a surge in public-housing programs, the proliferation of surveillance cameras,
decreases in lead toxicity, increased incarceration rates (and paradoxically in recent
years, increased prison discharge rates), even the availability of abortion.

Morgenthau credits the pivotal role of the district attorney, noting Manhattan had
39 percent of the city’s homicides when he took office and only 12 percent in the year
before he finished — evidence to him of the difference a D.A. makes given that the
city’s boroughs all have the same police force. In his final report, he tartly observed
that the 90 percent decline in murders in Manhattan during his tenure was “not due

simply to the dawn of gentler times.”

But of course gentler times were something to hope for and to cultivate if
possible. Vance pressed the point to his staff: Their pole star wasn’t convictions but

http://www.nytimes.com/201 4/12/07/magazine/cyrus-vance-j rs-moneyball-approach-to-crime.htm... 7/24/2015
Cyrus Vance Jr’ FRBrbyRt” Apt dae CrAQCUN@ WoL onkilepe8/13/15 Page 12 of 1@age 13 of 15

safety, a goal as readily attained by preventing crime as by prosecuting it. With asset-
forfeiture money seized from drug dealers, Vance has opened 10 Manhattan gyms
that would otherwise be closed on weekends and started sports programs for 11-to-
18-year-olds called Saturday Night Lights. The community-affairs unit hired
professional sports trainers to run drills and academic advocates to work as tutors
and mentors and to keep track of how the players are faring in school. “We ask
ourselves, Are we doing everything possible to reduce crime?” Chauncey Parker says.
“If an overwhelming number of Rikers Island inmates don’t have high-school
diplomas, maybe we should be finding ways to help people stay in school and
graduate. It seems obvious, but it’s not until someone starts doing it.”

Parker challenged C.S.U. prosecutors to come up with their equivalent of the
Apollo moon project. Their answer was reforming public housing in the city,
including the Polo Grounds, St. Nicholas and Wagner developments, and they are

drawing up plans with the expectation that they can drive down crime.

A number of other cities and states are studying how the Manhattan D.A. has
developed and deployed data. At a February 2013 conference in Miami, Kerry Chicon
and David O’Keefe, then the C.S.U. chief, received numerous requests for meetings
after their presentation on the Arrest Alert System. Philadelphia now has a
rudimentary intelligence system modeled on Manhattan’s C.S.U. So does the
Delaware Department of Justice. “The Manhattan C.S.U. prosecutors spent a day
Kathleen M. Jennings, the state prosecutor and head of the criminal division. “We
developed an arrest-alert system that identified 50 high-risk offenders. In May we
created our crime-strategies unit. Wilmington has one of the highest violent-crime
rates in the country, but 1 to 2 percent of the people are doing 70 percent of the

crimes. We’ve taken dozens of high-risk offenders off the street.”

When he took office in 2011, District Attorney George Gascon of San Francisco
was shocked by the paucity of data-informing prosecutions. “It wasn’t even a bell
that was being rung,” says his chief of staff, Cristine Soto DeBerry. “We spent a day
in Manhattan learning the ropes of how they used data, and Kerry Chicon came and
spoke to our board of supervisors. It’s very clear to our D.A. that we are

overincarcerating, and we need to do something different. J ail is not an economically

http://www.nytimes.com/2014/12/ 07/magazine/ cyrus-vance-jrs-moneyball-approach-to-crime -htm... 7/24/2015
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i;

July 30, 2015

Miss Kelly Grace Price
534 w 187" st #7
New York, NY 10033

Graciegracie2 |2(@gmail.com
646 676 1940

Lt. Larocca

c/o Lieutenant’s Benevolent Association
Woolworth Building

233 Broadway

ste. 1801

New York, NY 10279

VIA FAX 212.964.4240

Dear Lt. LaRocca

I hope you remember me from 2011-2012 when you worked at the 28 pct. If you recall I came to
the NYPD with complaints of violent physical, mental and economic abuse as well as complaints of
being trafficked by my intimate partner at the time: Raheem Andre Powell.

As Mr. Powell was assisting the MDAO and their “Crew Cut” team in clearing out “gangs” from upper
Manhattan my complaints were never investigated and | instead was falsely arrested on hundreds of
counts of alleged harassment against Mr. Powell and thrown in Rikers Island where | miscarried my
baby. After over two years I managed to out-maneuver the mewling ingénues at the MDAO and wina
FULL DISMISSAL of all bogus charges against me. I am STILL however on a “DO NOT SERVE” list kept
by the NYPD and the MDAO and am still being denied police assistance.

I have partnered with Sanctuary for Families, the largest advocacy group for DV and trafficking
victims in the country and am bringing a Federal class-action lawsuit against the NYC, the NYPD, and
the MDAO for blatantly denying me my due process rights, infringing my freedom of speech, denial of
equal protection, abuse of process, malicious prosecution and for illegally seizing and searching me
(my phone is STILL being monitored by the NYPD).

FIVE Other women in NYC have been subsequently raped, sexually assaulted, stalked and
masturbated on by at least one man who assaulted me on 7/28/2012 because the NYPD and MDAO
refused to investigate my complaint of assault against him because ADA Strohbehn placed me on a
“do not serve” list and instructed the precinct to not help me. In fact, all other crimes this creep
committed against other women of Gotham happened AFTER he was apprehended and released and
told basically: “its your word against hers” by the 20‘ pct who arrested him on resisting arrest,
disorderly conduct and felony assault of a police officer charges a month after his assault on me (the
DA instructed him to be only charged on the DO offense and he was given a desk appearance ticket,
NOT arrested for his assault against me a month prior, and released out the back door of the 20* pct).
So this person, Rami Baly, went on to continue his crime spree against women because he had been
given the green light to do so by the city because of their animus towards me. Maybe you can verify
what I say is true by looking up SOME of his charges for crimes against other innocent women:

 

Defend SIVUNVURO ME | AUR)roc] ic)
ant : nS # nce Date
2013NY031505 Baly, 08/07/20 New A
Rami 13 York
Case 1:15-cv-05871-KPF Document 4-12 Filed 08/13/15 Page 14 of 16

2013NY04 Bal 08/07/20 New A
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2013CN00 Baly, 08/02/20 N
0347 Rami 13 e€

I had attained a restraining order from the Family Court in Judge Lori Sattler’s part as per your
instructions in Oct/Nov of 2010 and thus the City of New York had a SPECIAL RELATIONSHIP with
me and had promised me protections and police services. Lt. Larocca: if you had not instructed me
to do this my case would be MUCH weaker right now because of precedents set in the cases of
Riddick and MacLean that state that the NYPD does not HAVE to give assistance UNLESS there is a
pre-existing promise to protect or special relationship between the victim and the city. [am
ETERNALLY GRATEFUL TO YOU FOR THIS STEWARDSHIP AND ADVICE.

I need your assistance in proving that ADA Maria Strohbehn instructed you at the precinct to not
investigate my claims of battery and trafficking and to not give me any assistance unless pre-
approved by the MDAO. Please can you contact me to discuss this and other affidavits I need from
you. I know what happened to me sat hard in your heart. I know you know the law, which mandates
investigations and procedure to be followed when a complainant asserts certain types of crimes have
been committed against them. Both McKinney’s Crime Victim's Statutes and the NYPD handbook call
for procedures and investigative mandates to be followed in situations such as I presented that were
blatantly ignored.

| also know that the reason that my batterer was given special treatment and that I was thrown

under the bus is that ADA Strohbehn and her “Crew Cut” team needed his assistance in making major
cases against gangs in Harlem. My batterer was shot in front of the 28th precinct by an armed
assailant who had been attempting to rob his weed spot on w 120* st. in December of 2010. That
shooter turned out to be a young teen member of a mid-Harlem Gang centered around 137% st. He
was apprehended and charged with attempted murder. Strohbehn and her team needed my batterer
to cooperate with their investigation into his gang ties. Following, as I had been actively trying to
make complaints against him for his violent abuse the only alternative Strohbehn had if she wanted
to keep her case alive and turn the shooter into an informant by offering him a lower plea in
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exchange for intel about his gang was to paint me as a fabricator in order to deny me police services
and protections in order to protect my batterer and keep him cooperating.

This scheme is not only highly illegal but if left unchecked is a TEMPLATE for future prosecutors and
police to utilize in similar situations. I know you don’t wish for part of your legacy with the NYPD to
be that of creating a cookie-cutter template for re-victimizing women already horribly victimized and
abused. I know the person you are and all the things you did to try to help me and I need your help
Lt. Larocca. Please reach out to me ASAP. I need someone from the precinct to aver that Strohbehn
instructed the 28" precinct/NYPD not to respond to my complaints or take me seriously and to label
me as “crazy” alternatively. This action was blatantly against my Constitutional Rights to equal
protection under the law, not to be illegally searched and seized, not to be unusually punished, et al.

I know this much and so do you. My case is VERY strong but I need this piece from you Lt. Please
reach out to discuss what you can do to help. I’ve come a VERY long way in rebuilding my life since I
last saw you in late 2012/early 2013 (I HAVE TAKEN THE LSAT AND AM APPLYIN TO LAW SCHOOL
THIS FALL SO I CAN SPEND MY LIFE HELPING OTHER VICTIMS WHOSE LIVES HAVE BEEN FELLED
BY SECONDARY VICTIMIZATION) but my life is still very very different from the way it was before

my batterer. I need you to help me bridge the gap between who | was and who | am now. Please Lt.;
I’m begging you not to ignore me. Prosecutors should not be allowed to over-rule the judgment of
experienced Police in the name of case-building (and career-building too!).

Lastly, remember please that I am a survivor of 9/11 and that I deserve to live a life
in NYC free from continuous retribution from law enforcement and denial of
services. I deserve to be protected and to feel safe here. I am a FOURTH
GENERATION daughter of the city of New York and no little mewling ingénue
imported for service by the MDAO from Maryland who has NOT a CLUE about the
intricacies of city living and the special mysteries of Harlem has the right to take this
away from me. Strohbehn already has taken everything from me: my reputation,
my career, my unborn child, my sense of place and pride in the world, my friends
and family. Please don’t let her have the last word Lt. Larocca: pretty please | know
you can help me.

Humbly,
Kelly
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-------- Original Message --------
Subject: City of New York Auto Acknowledgment Correspondence # 1-1-1023188047

From: reply@customerservice. nve.gov
To: GRACIEGRACIE212@GMAIL.COM
CC:

Dear KELLY GRACE PRICE:

Thank you for contacting the City of New York. Your message has been forwarded to the appropriate agency for review and handling.
For future reference, your service request number is 1-1-1023188047.

Sincerely,

The City of New York

This is an auto-generated system message. Please do not reply to this message. Messages received through this address are not processed.

Thank you.

The information you have provided is as follows:

Form: Customer Comment

Topic: Employee Complaint

Name: KELLY GRACE PRICE

Street Address: 534 WEST 187 STREET

City, State Zip: NEW YORK, NY 10033

Country:

Email: GRACIEGRACIE212@GMAIL.COM

Company:

Work Phone: (646) 676-1940

Message:

Caller states that the Inspector of the 28th Precinct blocked her from the Twitter account. Caller has checked the policy on blocking someone,
and they can only block a person if they were abusive. Caller tweeted to the inspector on how she would address and handle domestic abuse
at the precincts. She also tried using a different name and was still blocked. She was not being abusive, or disreepectful. All she was
requesting is information from the inspector. Her account is under(@gracieegorgeous) on Twitter.

GRACE <gorgeous212@gmail.com> 12/31/14
to me

--~-~--- Original Message --------
Subject: City of New York Auto Acknowledgment Correspondence # 1-1-1023188047
From: reply@cuslomerserice.nyc.gov

To: GRACIEGRACIE212@GMAIL.COM
CC:

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